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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

Ralph Gaudino                                   )
                                                )
       v.                                       )
                                                )    Case No. 1:18-CV-00930-TJK
Securitas Security Services, et al.,            )
                                                )
               Defendants.                      )

                                  NOTICE OF DISMISSAL

       Comes now Defendant Mark Baker, by and through undersigned counsel, and respectfully

dismisses his previously filed counterclaims.



                                       Respectfully Submitted,



                                       ______________/s/__________________________
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                                     CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of January 2019, I caused a copy of the foregoing to

be delivered via the Court’s electronic filing system to all counsel of record.




                                              ____________/s/______________________
                                              Kristin L. McGough
